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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


 EDDIE J. RATLIFF                                      CIVIL ACTION NO. 2:17-cv-11581

                 Plaintiff,
                                                       SECTION “E” (1)
 VERSUS
                                                       DISTRICT JUDGE
 SEADRILL AMERICAS, INC.                                    SUSIE MORGAN

                 Defendant.                            MAGISTRATE JUDGE
                                                           JANIS VAN MEERVELD



                                  JOINT PRE-TRIAL ORDER

                                  PRE-TRIAL CONFERENCE

                                                  I.

      A Pre-Trial Conference will be held on the 9th day of May, 2019 at 9:00 A.M. before Judge

Susie Morgan.

                                 APPEARANCE OF COUNSEL

                                                 II.

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                              DESCRIPTION OF THE PARTIES

                                                 III.

Plaintiff, Eddie Ratliff:

       Plaintiff is Eddie Ratliff, a resident of Collins, Mississippi. At all material times, Plaintiff

was employed by Defendant, Seadrill Americas, Inc. as a Jones Act seaman and assigned to M/V

WEST VELA as a member of the crew of the vessel.

Defendant, Seadrill Americas, Inc.:

       Defendant, Seadrill Americas, Inc., was the employer of Plaintiff Eddie Ratliff.

                                         JURISDICTION

                                                 IV.

       This matter falls within the Court’s admiralty jurisdiction. Plaintiff’s negligence claims

against Seadrill Americas, Inc. are based on the Jones Act, 46 U.S.C. § 30104 et seq. and the

general maritime law. Plaintiff is a Jones Act seaman and his alleged incident and injury occurred

aboard the M/V WEST VELA, thereby supporting this Court’s admiralty jurisdiction.




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                                       PENDING MOTIONS

                                                   V.
Plaintiff, Eddie Ratliff:

        Plaintiff intends to file a Motion in Limine to Exclude as untimely the designation and

purported testimony of defendant’s liability expert, Stephen Stoneham. This Honorable Court’s

Order of December 11, 2018 (R. Doc. 43) expressly limited further discovery to the issues of

“medical and vocational testimony.” The Court did not extend any deadlines for the parties to

engage in additional liability discovery. The Order does not permit the defendant to designate a

purported liability expert ex post facto or generate a liability expert report for use in this case.

        Plaintiff anticipates that he may file additional motions in limine on evidentiary issues.

Defendant, Seadrill Americas, Inc.:

        None at this time; however, defendant may file motions in limine.

                 BRIEF SUMMARY OF MATERIAL FACTS CLAIMED BY

                                                  VI.

Plaintiff, Eddie Ratliff:

        This is a Jones Act and general maritime law case involving severe, debilitating injuries to

Plaintiff, Eddie Ratliff. Ratliff is 37 years old. At the time of the accident, Ratliff was working as

an assistant driller and he had been employed by Seadrill for approximately four and one-half

years. Defendant, Seadrill, employed Ratliff and the other members of the crew of the WEST

VELA.

        On or about August 19, 2017, Ratliff suffered serious painful injuries to his back that have

resulted in the need for surgery and other medical treatment. At approximately 3:00 p.m. on

August 19, 2017, Seadrill’s tool pusher, Mr. John Atkinson, visited the vessel’s pump room

concerning problems with the vessel’s no. 2 mud pump. Mr. Atkinson was advised that there was


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a leak in the no. 3 suction module of mud pump no. 2. Mr. Atkinson testified that a “…wash” was

discovered near the base of that module’s intake valve seat (“seat”) which was preventing the valve

from seating and then sealing as pump no. 2 was running. Thus, the valve seat needed to be

removed from the module.

        At approximately 6:00 p.m. on the date of the accident, Seadrill’s night crew arrived at the

rig floor and conducted changeover meeting(s) with their opposite members of the departing day

crew. Mr. Ratliff, an assistant driller on the night crew, testified that he met with the day crew’s

assistant driller, Mr. Desmond Hall, that the day crew had been unable un-seat the valve. The night

crew, including Mr. Ratliff, was then tasked with continuing to remove the seat from the mud pump

module.

        In order to perform the work of removing the seat, Mr. Ratliff testified that he was provided

with an all-threaded rod and a seat-puller which was to be installed into the valve. The all-thread

rod and seat puller were to be inserted onto the valve which was to be removed. Mr. Ratliff and

his crew were to utilize a hydraulically actuated Porta-Power pancake jack for this work. The

purpose of the pancake jack was to apply hydraulic force to the seat-puller in order to remove the

seat.

        In order to attempt to remove the seat, Mr. Ratliff had to insert the all-thread rod and the

seat puller down the shaft of the module. Mr. Ratliff had to insert his left hand down the shaft of

the mud pump module and put his fingers under the seat to try to make the seat-puller flush with

the seat. Meanwhile, Mr. Ratliff had to keep his right hand higher up the length of the all-thread

rod to make sure he had manual leverage to align the seat puller.     He did this while kneeling on

both knees on deck grating, bending at the waste and stretching his upper-body over another pump

module which was between him and module no. 3.             This was a tight space. Following is the



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plaintiff’s drawing of the mud pump module, with an indication of where his hands were placed

and an “x” where he was kneeling on the grating:




Following is a photo of the mud pump module area where Mr. Ratliff was working at the time of

the accident:




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       The night crew made three unsuccessful attempts to force the valve seat from the suction

module. According to Mr. Ratliff, during these attempts they had to swap-out and use three (3)

different pancake jacks. Mr. Ratliff testified that he had to repeat the same awkward maneuver of

inserting the all-thread rod and seat puller and applying manual leverage to the all-thread rod.




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According to Mr. Ratliff, each attempt lasted 15 to 25 minutes for a total of approximately one

hour to one and one-half hours in which he was required to maintain such awkward body position.

Mr. Ratliff testified that Mr. Atkinson witnessed him in that awkward body position during their

attempts to remove the seat, but Mr. Atkinson never told him to stop or change positions “because

that’s pretty much the only way you can get to it.”

       Mr. Ratliff and the night crew ultimately determined that the seat could not be removed.

Mr. Ratliff then received a call from the driller and Mr. Atkinson instructing him to move over to

pump no. 1 and investigate a possible shut down of that pump.

       As Mr. Ratliff rose to his feet to move toward pump no. 1, Mr. Ratliff was experiencing

pain in his back from maintaining an awkward position for so long (he had never maintained such

position for such period before this incident). Mr. Atkinson then told Mr. Ratliff to pick up a bar

that was on the grating. As Mr. Ratliff made his way toward the bar, Mr. Ratliff continued to feel

discomfort and pain in his lower back. As Mr. Ratliff reached down and started picking up the

bar, Mr. Ratliff felt a pop in his lower back and fell to the ground in pain.       Mr. Ratliff had

continuous pain in his lower back from the time he stood up off his knees at mud pump. no. 2 and

walked across the deck grating to pick up the bar.

       The accident was caused solely by Seadrill in several respects. First, according to Seadrill’s

Step-by-Step Procedure for these mud pump repair operations, once it was recognized that the

valve could not be removed from its seat, the toolpusher (Mr. Atkinson) should have implemented

Stop Work Authority. Seadrill’s Step-by-Step procedure for the job states, in pertinent part:

     …If hydraulic removal doesn’t work, notify Toolpusher who will issue appropriate
     permits. Welder will then heat and add ice to shrink the seat, before attempting
     another pull. In extremely difficult cases, welder may have to cut into valve seat
     body or cut through spoke, to stress relieve the valve seat. In both cases, hot work
     will be done under Toolpusher’s immediate supervision to avoid damage to pump
     body.


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Mr. Atkinson knew that the crews (including Ratliff’s crew) were having difficulty unseating the

valve, yet he failed to stop work. Accordingly, the night crew, including Ratliff, was forced to

continue to attempt to unseat the valve with different pancake jacks (Porta-Power) which

repeatedly proved unsuccessful. Second, Seadrill should have, but did not use the industry

standard Very Heavy Duty Seat Pulling Jacks which were available. Instead, Seadrill used the

Porta-Power jacks which are not as powerful and which proved unsuccessful in lifting the valve

from the seat. Seadrill’s failing to make industry-standard Very Heavy Duty Seat Pulling Jacks

available to its crew for this task forced Ratliff to try to continue to use sub-standard equipment in

removing the valve from its seat, which repeatedly required Mr. Ratliff to maintain and awkward

back posture, which led to his injury.

       Finally, Atkinson admitted that having his crew attempt to remove the seat at that time on

board the vessel was unnecessary avoidable because they could have just removed the whole

module without trying to remove the seat. Seadrill ended up having to replace the whole module

anyway. Seadrill was negligent in trying “to save some money” by taking the seat out first, which

caused an unreasonable risk of injury to Ratliff.

       Ratliff has suffered severe pain and limitations. Ratliff reported his back pain immediately

to the ship’s medic. He was treated conservatively on the ship with anti-inflammatory medications

and then sent to shore for additional treatment with Seadrill’s company physician at Bourgeois

Medical Clinic in Morgan City. Dr. Bourgeois diagnosed Ratliff with a lumbar strain and placed

him off work and sent him back home for further treatment and to rest prior to returning to work.

Mr. Ratliff was treated by Seadrill’s doctor of choice in Mississippi who cleared Mr. Ratliff to

return to work, but Ratliff’s pain and muscle spasms continued.




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       Ratliff was examined by neurosurgeon, Dr. Bradley Bartholomew, on November 30, 2017.

On this initial visit with Dr. Bartholomew, Mr. Ratliff completed in his own handwriting a form

that states he was injured while working the mud pumps.          The radiologist’s review of the

November 2017 MRI films revealed a disc herniation at L4-5 and left disc herniation with nerve

root impingement at L5-S1. Dr. Bartholomew’s review of the MRI revealed an “obvious” left L5-

S1 disc herniation. Dr. Bartholomew recommended facet blocks at L4-5 and L5-S1 and confirmed

that Ratliff was temporarily totally disabled from his job on the WEST VELA. The facet blocks

did not provide relief. Dr. Bartholomew recommended an EMG and nerve conduction studies

which were done in March 2018. Dr. Bartholomew’s evaluation of the EMG/NCS studies revealed

pathology involving the left S1 motor root and the left L5 root. Dr. Bartholomew recommended

Ratliff undergo a microdiscectomy at L5-S1. Dr. Bartholomew performed microdiscectomy

surgery on October 1, 2018. Ratliff was evaluated by Dr. Bartholomew on November 27, 2018.

Ratliff reported occasional numbness and tingling down the left leg with some left leg pain, but

mostly at night. The pain presents to the inferior left calf when present with occasional mild low

back pain. Straight-leg testing revealed mild pain to the left calf. Dr. Bartholomew prescribed

Lyrica, a nerve and muscle pain medication, and he recommended Ratliff conduct another round

of physical therapy with another follow-up appointment with Dr. Bartholomew in 4-6 weeks. Dr.

Bartholomew has recommended that Ratliff be permanently restricted from work requiring heavy

lifting. Dr. Bartholomew has now performed a two-level fusion at L4-5 and L5-S1, which was

necessitated by this accident.

       Ratliff was evaluated by Dr. Thomas Lyons for pain in his left knee on December 12, 2017.

Ratliff reported to Dr. Lyons that he had left knee pain as a result of the accident which was made

worse with prolonged sitting or standing and radiating complaints extending to the knee. Dr. Lyons



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recommended a MRI of the left knee, which revealed arthritic changes and a popliteal cyst. Dr.

Lyons recommended several types of injections and physical therapy.

       Ratliff was a very high wage earner at the time of the accident. Ratliff’s pre-injury earnings

base was approximately $168,075 annually at the time of the accident. With respect to economic

loss, assuming a wage base of approximately $168,075 and no residual future earnings capacity,

Mr. John Terhiot of Malcolm Dienes, LLC certified public accountants, estimates that Ratliff’s

past and future loss of earnings after taxes are $188,044 and $2,865,178, respectively. Assuming

a wage base of approximately $168,075, and assuming Ratliff would be able to return to work at

$11 per hour, Mr. Theriot estimates past and future loss of earnings after taxes are $188,044 and

$2,475,141, respectively. Mr. Theriot also calculates Mr. Ratliff’s past and future fringe benefit

losses at $45,107 and $687,286, respectively. Mr. Theriot further calculates Mr. Ratliff’s past and

future found losses (cost of meals while working on the vessel) at $2,543 and $37,615,

respectively. Mr. Ratliff’s past medical expenses are approximately $80,000, not including Dr.

Shelley Savant’s life care plan estimates of a total of approximately $546,600.

       Seadrill may claim a 2005 lumbar MRI shows some damage to Mr. Ratliff’s lower back.

In fact, the radiologist’s reading of this MRI was a “central” disc herniation which did NOT involve

nerve root involvement. Mr. Ratliff received a complete unrestricted return to work and did heavy

manual labor form 2005 through this accident date. The MRI following this injury showed a LEFT

sided herniation which DID impinge upon the nerves (as evidenced from Mr. Ratliff’s clear

complaints of burning and numbness down into his left leg and the EMG and nerve conduction

studies following this accident).




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Defendant, Seadrill Americas, Inc.

        Plaintiff is a 37 year-old assistant driller formerly employed by Seadrill Americas, Inc. He

claims he injured his lower back on the drillship WEST VELA while lifting a 34-lb. bar. Plaintiff

filed suit against Seadrill, asserting negligence and vessel unseaworthiness claims. Plaintiff

acknowledged, though, he does not have a valid claim of vessel unseaworthiness against Seadrill

Americas so that claim has been dismissed. Plaintiff likewise cannot show that it was negligent

for his employer to assign him a task that involved picking up a bar weighing only 34 lbs.

        On August 19, 2017, plaintiff was working on a mud pump in the pump room of the WEST

VELA.     The mud pumps push highly pressurized mud through the system during drilling

operations. Naturally, the pumps require routine maintenance and repair from time to time.

        Immediately prior to his alleged injury, plaintiff and his fellow crew members were

performing a repair of the gaskets on mud pump #1. After finishing the repairs to this mud pump,

plaintiff reached down to pick up a 34-lb. bar. As he did so, he testified that he felt a “pop” in his

lower back, even before he had lifted its full weight. After he felt this pop, he claims he fell to his

knees in pain.

        Plaintiff has admitted that he did not slip or otherwise lose his balance, that he had been

properly trained by Seadrill on proper lifting techniques and was utilizing a proper lifting technique

at the time of the incident. Further, plaintiff admitted that he had lifted this bar over 50 times prior

to this incident and had always performed the task without any assistance and without difficulty.

Plaintiff had seen others lift the bar on numerous occasions, also without any assistance and

without any difficulty. In fact, plaintiff admitted lifting the bar was a one-person job. In addition,

plaintiff admitted he could have asked for assistance in picking up the bar, but he did not do so.




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Plaintiff also admitted he had “stop work” authority to stop the job if he felt it was unsafe, but he

did not request that work be stopped.




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       After plaintiff felt his back pop, he sought treatment from the rig medic for a couple of

days after which time he told the medic he was completely pain free. At this point, plaintiff

returned to work for two more weeks, which was the remainder of his twenty-one day hitch. He

returned home and was essentially pain free until he reached into his clothes dryer to remove some

clothes, which caused his back to lock up again and him to fall to his knees in pain. Before

retaining counsel and commencing litigation, plaintiff provided two written statements and an

audio recorded statement in which he attributed his injury solely to picking up the bar. He also

gave histories to the WEST VELA’s medic and to several treating physicians, and in each instance

he stated only that he injured his back in the same way.

       Plaintiff had never raised any other mechanism of injury. However, half of the way through

his deposition, and for the first time documented anywhere, plaintiff claimed that he was doing

strenuous work an hour or so prior to the bar lifting incident. He now attributes his injury to having

done that strenuous work long before he felt a pop in his back while performing a routine task of

lifting a 34-lb. bar. Plaintiff’s reinvented claim is meritless not only because it is untrue, but also

because even if it was true the work he performed an hour or so prior to the lifting incident was

not strenuous and Seadrill cannot be held to be negligent for requiring plaintiff to perform a simple

routine task. Further, plaintiff’s allegedly strenuous work did not cause the alleged injuries that

form the basis of plaintiff’s claim.

       Significantly, plaintiff’s fellow crew members will not only testify that plaintiff was not

working strenuously or in an awkward position an hour or so before his back popped, as he now

claims, but they will testify that it is not necessary to do what plaintiff claims he was doing and

more importantly that it is physically impossible to do what plaintiff claims he was doing.




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        After returning home, it was not until after the laundry incident that he sought treatment

from a chiropractor. Thereafter, he was referred by his legal counsel to neurosurgeon Dr. Bradley

Bartholomew. Plaintiff underwent facet injections, which he claimed did not help. On October 2,

2018, plaintiff underwent a successful microdiscectomy at L5-S1, an area of his lumbar spine that

had plagued plaintiff with injuries and pain for over a decade. Indeed, plaintiff suffered a disc

herniation in 2005 and had numerous work incidents that resulted in severe pain in his lower back.

This 2005/2006 lower back injury resulted in a trip to the emergency room and an MRI, which

revealed the disc herniation at L5-S1. This is the exact same level of plaintiff’s alleged current

injury and the exact same location of the microdiscectomy procedure. In 2014, while employed

by Seadrill, plaintiff injured his lower back again while working on mud pumps. This lower back

injury was so painful plaintiff had to visit the emergency room and seek treatment from a

physician. Plaintiff has not returned to work since the August 19, 2017 incident.

        Plaintiff was not injured as he claimed, and, in any event, plaintiff cannot establish that

anything that Seadrill did or did not do is in any way negligent. Requiring a seaman to perform

manual labor, including simple, routine tasks and lift a 34-lb. bar, cannot and does not constitute

negligence.

                        JOINT UNCONTESTED MATERIAL FACTS

                                               VII.

        1.      On or about August 19, 2017, Eddie Ratliff was working on the WEST VELA as

an assistant driller.

        2.      Seadrill Americas, Inc. employed Ratliff and the members of the crew of the

WEST VELA.




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        3.       This lawsuit arises out of an alleged incident that occurred on or about August 19,

2017 when plaintiff claims to have injured his back while working aboard the WEST VELA.

        4.       At the time of the incident, plaintiff was employed by Seadrill Americas, Inc. as an

assistant driller.

        5.       At the time of the incident, and at all material times, plaintiff was a Jones Act

seaman.

                           JOINT CONTESTED MATERIAL FACTS

                                                 VIII.

        1.       Whether plaintiff had any pre-existing conditions on August 19, 2017.

        2.       Whether, while working aboard the WEST VELA, plaintiff attempted to pick up a

        metal bar.

        3.       Whether the metal bar that plaintiff was attempting to lift weighed less than 50

        lbs.

        4.       Whether the metal bar that plaintiff was attempting to lift was approximately 3 ½

        feet in length.

        5.       Whether Plaintiff had lifted this metal bar on over 50 occasions prior to this

        incident without any assistance.

        6.       Whether Plaintiff was properly trained by Seadrill on proper lifting techniques

        and was utilizing proper lifting techniques at the time of his alleged incident.

        7.       Whether Plaintiff had seen others lift the metal bar in the past without any

        assistance about 30-40 times.

        8.       Whether Plaintiff had never seen two people work together to pick up the metal

        bar.



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 9.      Whether Plaintiff considered picking up the metal bar to be a one-person job.

 10.     Whether Plaintiff could have asked for assistance in picking up the metal bar, but

 did not elect to do so.

 11.     Whether as plaintiff attempted to lift the bar, he felt a pop in his back and

 thereafter he fell to the ground in pain.

 12.     Whether plaintiff’s alleged injury was caused by plaintiff attempting to pick up a

 metal bar.

 13.     Whether any negligence of defendant was a cause of plaintiff’s injuries.

 14.     Whether plaintiff sustained any injuries as a result of an accident aboard the

 WEST VELA on or about August 19, 2017.

 15.     The nature and extent of plaintiff’s injuries.

 16.     Whether plaintiff’s injuries were caused by any events occurring before or after

 he attempted to lift the metal bar on August19, 2017.

 17.     Whether plaintiff’s medical treatment and other actions in the aftermath of the

 accident were driven by a desire to maximize his recovery in a lawsuit.

 18.     Whether plaintiff’s injuries required surgical intervention.

 19.     Whether plaintiff’s current medical condition is a result of the injuries sustained

 while working for Seadrill.

 20.     Whether plaintiff can engage in the activities of life which he used to perform,

 and to what extent.

 21.     Whether plaintiff is owed damages for past and future pain and suffering, past and

 future lost wages, past and future lost earning capacity, or past and future medical

 expenses.



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 22.    Whether plaintiff’s negligence, if any, contributed to his injuries.

 23.    Whether plaintiff has acted reasonably to mitigate his alleged damages.

 24.    Whether plaintiff can return to work.

 25.    Whether and to what extent there has been an historic decline in the offshore

 drilling industry such that it is unlikely plaintiff would have continued to work offshore

 until the end of his statistical work life expectancy.

 26.    The facts and circumstances surrounding the plaintiff’s accident.

 27.    The cause of the plaintiff’s accident.

 28.    On or about August 19, 2017, Mr. Ratliff suffered an injury to his lower back.

 29.    The nature and extent of plaintiff’s injuries and disability.

 30.    The nature and extent of any vocational losses experienced by the plaintiff.

 31.    The amount of damages, if any, to which plaintiff is entitled.

 32.    Whether Seadrill was negligent in failing to provide Mr. Ratliff with a reasonably

 safe place to work.

 33.    Whether there is a causal connection between Seadrill’s alleged negligence and

 Mr. Ratliff’s alleged injury.

 34.    Whether Mr. Ratliff is capable of returning to work offshore.

 35.    Quantum.

 36.    Whether the plaintiff has reached MMI.

 37.    Whether Seadrill has fulfilled its obligation to pay maintenance and cure to

 plaintiff from the date of the incident to present.

 38.    The amount of damages, if any, to which plaintiff is entitled.

 39.    The extent of plaintiff’s general and special damages.



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        40.    The extent of plaintiff’s economic loss.

        41.    Whether the alleged accident caused plaintiff’s alleged damages.

                                CONTESTED ISSUES OF LAW

                                               IX.

   1. Nature, extent and cause of any injuries and disability to plaintiff.

   2. Compensatory damages.

   3. Quantum.

   4. Whether the plaintiff carried his burden to mitigate his damages.

   5. Whether the plaintiff is entitled to general damages or special damages.

   6. Whether Seadrill was negligent.

   7. Whether Seadrill’s negligence was the cause-in-fact of plaintiff’s injuries.

   8. Whether Seadrill has complied with its maintenance and cure obligations.

   9. All other issues of law employing the foregoing contested issues of fact, summaries of

        material facts, and pleadings.

   10. Those issues of law which are explicit in the foregoing contested issues of fact and/or

        summaries of material fact.


                                           EXHIBITS

                                                X.

Plaintiff, Eddie Ratliff:

        Plaintiff’s Un-Objected To Exhibits:

  1.      American Claims Information Sheet; (PL 0001-0001)

  2.      HSE Event -Personal Injury; (PL 0002-0005)

  3.      Statement of Personal Injury; (PL 0006-0006)


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4.       Hydraulic Hand pump instruction sheet; (PL 0373-0379)

5.       JSA - Permit to Work-Task Risk Assessment form; (PL 0380-0382)

6.       Operation Maintenance and Maintenance checklist; (PL 0383-0384)

7.       Permit to work form; (PL 0385-0385)

8.       Person on Board list; (PL 0386-0391)

9.       Pre Tour Minutes; (PL 0392-0394)

10.      Rig general arrangement plan; (PL 0395-0395)

11.      Schematic mud pumps; (PL 0396-0397)

12.      Schematic of pump room; (PL 0398-0398)

13.      Seadrill Debrief 8.20.17; (PL 0399-0399)

14.      Task Risk Assessment, Directives, and Permit to Work forms; (PL 0400-0869)

15.      Seadrill Work orders; (PL 0875-0876)

16.      Seadrill Photographs; (PL 000887 – 00880, 902- 922, 923 – 940)

17.      Seadrill Personnel records of plaintiff; (PL 0941-1525)

18.      Seadrill Payroll Records; (PL 1884 – 1922)

19.      Seadrill Safety Manual; (PL 1526-1551)

20.      Seadrill WEST VELA Vessel log; (PL 1563-1563)

21.      Plaintiff’s Seadrill Paystub 08-28-17; (PL 1564-1565)

22.      Seadrill Maintenance and Cure Payments 10-30-17; (PL 1566-1569)

23.      Plaintiff’s 2016 W-2 from Seadrill; (PL 1570-1570)

24.      Seadrill 2017 Benefit Choices - Who Pays; (PL 1571-1571)

25.      Plaintiff’s 2013-2017 Earnings Summary; (PL 1572-1600)

26.      Seadrill fringe benefit monthly amounts; (PL 1601-1601)



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27.      Plaintiff’s IRS Records from 2012 thru 2016; (PL 1602-1675)

28.      Plaintiff’s SSA Records from 2006 thru 2017; (PL 1676-1681)

29.      Plaintiff’s W2 forms from Seadrill 2013 thru 2017; (PL 1682-1687)

30.      Seadrill Assistant Driller Job Description; (PL 1872 – 1874)

31.      Seadrill Manuals & Procedures; (PL 1969 – 2360)

32.      Complete copy of any and all medical records, therapy records, medical reports, medical

         invoices or bills, medical films including x-rays or MRIs, or other written

         documentation relating to plaintiff=s past and future medical treatment including but not

         limited to any and all documents, medical records, films or other materials from the

         following healthcare providers:

            a. Bradley Bartholomew, M.D. SEADRILL 850-900; (PL 000148 – PL000237)

            b. Omega Hospital and Physicians; (PL 000305 – 000315)

            c. Bourgeois Medical Clinic; (PL 000100 - 000115)

            d. Magnolia Diagnostics; (PL 000286 – 000286; 2474 - 2475)

            e. Thomas Lyons, M.D., Orthopedic Center for Sports Medicine; SEADRILL

                2121-2122 (PL 000238 – 000245)

            f. Daniel Trahant, M.D. SEADRILL 2039-2048 (PL 246-260)

            g. Covington County Hospital; (PL 000116-000147)

            h. Merit Health Wesley; (PL 000287 – 000304)

            i. LA Health Solutions; SEADRILL 2089-2120; (PL 1767 – 1798)

            j. Acadiana Center; SEADRILL 2049 – 2075 (PL 000557 – 000563)

            k. Fred’s Pharmacy; SEADRILL 1006-1007 (PL 000316 – 000318)

            l. Walgreens Pharmacy; (PL 000319 – 000319)



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                 m. Medical Records received from Defense; (PL 1727 – 1817)

                 n. Ralph R. Katz, M.D., Westside Orthopedic Clinic; (PL 2466-2473)

  33.         Any and all documents or sources relied upon by any experts in this matter including

              John W. Theriot, Shelly Savant, Joyce Beckwith, Gregg Perkin and Garrett Perkin. Such

              exhibits include but are not limited to, government sources and publications relied upon

              by such experts, interest rate tables, and any other documents as relied upon or

              referenced by such experts;

  34.         Any exhibits attached to any witness depositions including the deposition of the

              plaintiff; (PL 1818 – 18368; PL 1923 – 1968; PL 2361 – 2381)

  35.         Any drawings attached to any witness depositions including the deposition of plaintiff;

              (PL 1820, 1825, 1826, 1827, 1833, 1925, 1966, 1967, 1968)

         Plaintiff’s Objected To Exhibits:

         1.       Email file produced by Seadrill; (PL 0325-0372) – Defendant objects based on

hearsay

         2.       Certificate of Compliance USCG; (PL 0320-0324) – Defendant objects based on

relevancy, prejudice and hearsay

         3.       USCG inspection records of WEST VELA; (PL 0870-0874) - Defendant objects

based on relevancy, prejudice and hearsay

         4.       Seadrill Tool pusher Job Description; (PL 1881 – 1883) - Defendant objects based

on relevancy

         5.       Seadrill Driller Job Description; (PL 1875 - 1877) - Defendant objects based on

relevancy




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       6.      Seadrill Assistant Derrickman Job Description; (PL 1869 – 1871) - Defendant

objects based on relevancy

       7.      Seadrill Roughneck Job Description; (PL 1878 – 1880) - Defendant objects based

on relevancy

       8.      File #48786 Audio statement; (PL 1726) - Defendant objects based on relevancy

       9.      Defendant’s responses to discovery and all attachments thereto; (PL 1688-1723) -

Defendant objects based on relevancy

Defendant, Seadrill Americas, Inc.

       Defendant’s Un-Objected To Exhibits:

       1.      The various tools and equipment Eddie Ratliff and his fellow crew members were

using at the time of the incident, including put not limited to the subject metal bar, mud pump

module (including cap and internal parts), block, all thread bolt with nuts and seat plate, pancake

jack and hydraulic pump. These tools and equipment will be brought to trial, but are also depicted

in SEADRILL 25-28, SEADRILL 828-848 and 2620-2367.

       2.      Statement of personal injury (SEADRILL 4)

       3.      ACSI preliminary report (SEADRILL 5-6)

       4.      ACSI Information Sheet (SEADRILL 9)

       5.      Synergi Report with attachments (SEADRILL 21-32)

       6.      Personnel on board list (SEADRILL 33-37)

       7.      Maintenance and cure records (SEADRILL 38-57 & 64 & 3266)

       8.      Herrington Chiropractic Clinic records (SEADRILL 58 and 3078-3086)

       9.      Call-In Sheet (SEADRILL 63)

       10.     West Vela Medic emails and records (SEADRILL 65-71 & 2086-2088)



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     11.    Personnel file (SEADRILL 72-218)

     12.    W-2s (SEADRILL 219-224)

     13.    Seadrill’s Manual Lifting Manual/Powerpoint (SEADRILL 225-250)

     14.    Assistant Driller Description (SEADRILL 281-283)

     15.    Medical Information (SEADRILL 293)

     16.    Seadrill 2017 Benefits Guide (SEADRILL 327-345)

     17.    August 19, 2017 Deck Log (SEADRILL 346)

     18.    Benefits summary (SEADRILL 461)

     19.    Advanced Pharmacy records (SEADRILL 540-546)

     20.    Magnolia Diagnostics records (SEADRILL 557-566 and 3645-3658)

     21.    Covington County Hospital records (SEADRILL 567-593 and 819-823)

     22.    CVS records (SEADRILL 594-596)

     23.    Walgreens records (SEADRILL 680-682)

     24.    Bourgeois Medical Clinic records (SEADRILL 683-696)

     25.    Orthopedic Center for Sports Medicine and Reconstructive Surgery records

(SEADRILL 697-736 & 2121-2122 & 3143-3167)

     26.    Omega Hospital records (SEADRILL 759-818)

     27.    8-317 Permit to Work and TBRA (SEADRILL 824-827)

     28.    Photographs (SEADRILL 828-848)

     29.    Dr. Bradley J. Bartholomew records (SEADRILL 849-899, 3168-3229, 3594-3644,

3700 & 3708-3717)

     30.    Fred’s Pharmacy records (SEADRILL 1006-1009)

     31.    NewSouth Neurospine records (SEADRILL 1010-1019)



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     32.     The Family Practice After Hours Clinic records (SEADRILL 1020-1033)

     33.     Medical Information Sheet (SEADRILL 1034-1035)

     34.     Dr. Daniel Trahant records (SEADRILL 2039-2048)

     35.     Acadiana Center for Orthopedic and Occupational Medicine records (SEADRILL

2049-2075)

     36.     Social Security Administration records (SEADRILL 2076-2085)

     37.     LA Health Solutions records (SEADRILL 2089-2120)

     38.     Permit to Work Forms and Step-by-Step Procedures (SEADRILL 2412-2611)

     39.     General Arrangement (SEADRILL 2612)

     40.     Mud Pump General Arrangement (SEADRILL 2613)

     41.     Mud Pump Drawings (SEADRILL 2614-2619)

     42.     Mud Pump Room Photographs (SEADRILL 2620-2637)

     43.     Pre-Tour Minutes August 20, 2017 (SEADRILL 2638-2639)

     44.     Step-by-Step Procedure (SEADRILL 2641-2657)

     45.     Mud Pump Manuals (SEADRILL 2658-3032)

     46.     Eddie Ratliff’s Seadrill Payroll Records (SEADRILL 3033-3061)

     47.     Hydraulic Pumps instruction sheet (SEADRILL 3062-3068)

     48.     Forrest General Records (SEADRILL 3117-3133)

     49.     Plaintiff’s IRS records (SEADRILL 3267-3340)

     50.     Caleb’s Hometown Pharmacy Records (SEADRILL 3589-3593 and 3701-3702)

     51.     Restore Physical Therapy Records SEADRILL 3569-3699)




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Defendant’s Objected-To Exhibits:

      1. Eddie Ratliff audio recording 9-28-2017 (SEADRILL 1) (OBJECTION: Hearsay,

         relevance, unfairly prejudicial)

      2. Eddie Ratliff audio recording file #44440 (SEADRILL 2) (OBJECTION: Hearsay,

         relevance, unfairly prejudicial)

      3. 9-28-2017 audio recording transcription (SEADRILL 10-20) (OBJECTION: Hearsay,

         relevance, unfairly prejudicial)

      4. November 22, 2014 back injury incident records (SEADRILL 251-266) (OBJECTION:

         Hearsay, relevance, unfairly prejudicial)

      5. Eddie Ratliff’s employment file from Spartan Offshore Drilling (SEADRILL 462-539)

         (OBJECTION: Hearsay, relevance)

      6. Eddie Ratliff’s employment file from Pierce (SEADRILL 547-556) (OBJECTION:

         Hearsay, relevance)

      7. Eddie Ratliff’s employment file from Hercules Offshore (SEADRILL 597-679)

         (OBJECTION: Hearsay, relevance)

      8. Eddie Ratliff’s employment file from Ensco (SEADRILL 900-994) (OBJECTION:

         Hearsay, relevance)

      9. Finlo Construction employment records (SEADRILL 995) (OBJECTION: Hearsay,

         relevance)

      10. Pearl River Community College transcript (SEADRILL 997) (OBJECTION: Hearsay,

         relevance)

      11. UNUM records (SEADRILL 1036-2038) (OBJECTION: Hearsay, relevance,

         collateral source)



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       12. Dr. Katz’s report with addenda (SEADRILL 2140-2147, 3230-3234 & 3703-3707)

          (OBJECTION: Hearsay, relevance)

       13. Divorce records (SEADRILL 3096-3108) (OBJECTION: Hearsay, relevance, unfair

          prejudice)

       14. Gym Records (SEADRILL 3134-3141) (OBJECTION: Hearsay, relevance)

       15. Plaintiff’s Complaint (SEADRILL 3235 - 3243) (OBJECTION: Relevance)

       16. Defendant’s Answer (SEADRILL 3244-3246) (OBJECTION: Relevance)

       17. Plaintiff’s responses to discovery (SEADRILL 3247-3265) (OBJECTION: Relevance)

       18. Plaintiff’s deposition and exhibits (SEADRILL 3341-3566) (OBJECTION:

          Inadmissible unless used for impeachment, hearsay, relevance)

       19. Plaintiff’s initial disclosure (SEADRILL 3567-3571) (OBJECTION: hearsay,

          relevance).

       20. Ratliff deposition transcript and exhibits (SEADRILL 3314-3566) (OBJECTION:

          Inadmissible unless used for impeachment, hearsay, relevance)

       21. Ratliff’s initial disclosures (SEADRILL 3567-3571) (OBJECTION: hearsay, relevance

          and non-specific)

       22. Divorce proceeding records (SEADRILL 3572-3588)

          (OBJECTION: hearsay, relevance, unfair prejudice)

                                 DEPOSITION TESTIMONY

                                               XI.

       All parties reserve the right to offer into evidence the deposition of any witness beyond the

subpoena power of this Honorable Court and/or any other witness unavailable for trial, or any




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witness whose deposition has been taken in this matter, as permitted by the Federal Rules of Civil

Procedure.

Plaintiff, Eddie Ratliff:

        Plaintiff anticipates offering the depositions of any witness not available for trial in this

matter or beyond the subpoena power of this Honorable Court. Plaintiff also reserves the right to

use any deposition testimony for impeachment purposes. At this time, Plaintiff intends to submit

the deposition testimony of the following witnesses:

  1.         John Atkinson, Toolpusher – 1190 Maynor Creek Road, Waynesboro, MS 39367 –
             Seadrill employee to testify concerning the facts and circumstances surrounding the
             accident, plaintiff=s job duties, performance and abilities prior to the accident, all facts
             and circumstances surrounding the procedure being performed at the time of the
             accident including prior and subsequent performance of the same procedure or a similar
             procedure, all equipment being used at the time of the accident including any changes
             to the equipment following the accident, and any other relevant testimony concerning
             the plaintiff, his accident, and his damages;


  2.         Bubba Clark, Roughneck – 693 Natural Gas Road, Logansport, LA 71049 - Seadrill
             employee to testify concerning the facts and circumstances surrounding the accident,
             plaintiff’s job duties, performance and abilities prior to the accident, all facts and
             circumstances surrounding the procedure being performed at the time of the accident
             including prior and subsequent performance of the same procedure or a similar
             procedure, all equipment being used at the time of the accident including any changes
             to the equipment following the accident, and any other relevant testimony concerning
             the plaintiff, his accident, and his damages;


  3.         Justin Davidson, Assistant Derrickman – 113 South Grace Street, Crockett, TX
             7583571486 – Seadrill employee to testify concerning the facts and circumstances
             surrounding the accident, plaintiff=s job duties, performance and abilities prior to the
             accident, all facts and circumstances surrounding the procedure being performed at the
             time of the accident including prior and subsequent performance of the same procedure
             or a similar procedure, all equipment being used at the time of the accident including
             any changes to the equipment following the accident, and any other relevant testimony
             concerning the plaintiff, his accident, and his damages;


  4.         Nick Faust, Driller – 956 Garcie Road, Zwolle, LA 71486 – Seadrill employee to testify
             concerning the facts and circumstances surrounding the accident, plaintiff=s job duties,
             performance and abilities prior to the accident, all facts and circumstances surrounding

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           the procedure being performed at the time of the accident including prior and
           subsequent performance of the same procedure or a similar procedure, all equipment
           being used at the time of the accident including any changes to the equipment following
           the accident, and any other relevant testimony concerning the plaintiff, his accident,
           and his damages;

  5.       Robert Hunter, Rig Medic employed by Safety Management Systems, 8139 Walnut
           Creek Lane, Charlotte, NC 28227 – fact witness to testify concerning the facts and
           circumstances surrounding the accident, medical treatment, plaintiff=s job duties,
           performance and abilities prior to the accident, all facts and circumstances surrounding
           the procedure being performed at the time of the accident including prior and
           subsequent performance of the same procedure or a similar procedure, all equipment
           being used at the time of the accident including any changes to the equipment following
           the accident, and any other relevant testimony concerning the plaintiff, his accident,
           and his damages;

  6.       Michael Ryan Webb, Roughneck – 2117 Briarwood Road, Gilbertown, AL 36908 –
           Seadrill employee to testify concerning the facts and circumstances surrounding the
           accident, plaintiff=s job duties, performance and abilities prior to the accident, all facts
           and circumstances surrounding the procedure being performed at the time of the
           accident including prior and subsequent performance of the same procedure or a similar
           procedure, all equipment being used at the time of the accident including any changes
           to the equipment following the accident, and any other relevant testimony concerning
           the plaintiff, his accident, and his damages.

Defendant, Seadrill Americas, Inc.:

        Seadrill anticipates offering the depositions of any witness not available for trial in this

matter or beyond the subpoena power of this Honorable Court. Seadrill also reserves the right to

use any deposition testimony for impeachment purposes.            Further, defendant may use the

depositions of John Atkinson, Eddie Ratliff, Danielle Ratliff, Robert Hunter, Justin Davidson,

Bubba Clark, Nicholas Faust and Michael Webb.

                             CHARTS, GRAPHS, MODELS, ETC.

                                                XII.

        Both plaintiff and defendant reserve the right to use charts, graphs, drawings, models,

photographs, and other materials during argument.




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        Both plaintiff and defendant intend to use enlarged copies and/or electronically displayed

copies of their listed exhibits. Both parties reserve the right to use a blackboard, photographs,

sketches, charts, graphs, models, schematic diagrams, blow-ups of exhibits and/or similar objects

in opening statements, witness interrogation, and/or closing arguments.

        Both parties will have available for inspection by the opposing party at least three full

working days prior to trial any demonstrative exhibits, timelines, graphics or charts and, if there is

any objection as to their use, the dispute will be submitted to the Court at least two full working

days prior to trial in accordance with Section IX (12) (b) of this Court’s Pre-Trial Notice.

                                         WITNESS LIST

                                                XIII.

        The witness lists are filed in accordance with prior court orders.

Plaintiff in good faith believes he will call the following witnesses:

  1.       Eddie J. Ratliff, 805 Seminary Williamsburg Road, Collins, MS 39428 – fact witness
           to testify concerning all facts surrounding his workplace injury, his medical treatment,
           his damages, and all other issues relevant to the claims asserted by him in this litigation;

  2.       Danielle Renee´ Ratliff – 805 Seminary Williamsburg Road, Collins, MS 39428 –fact
           witness to testify concerning how the accident made basis of this litigation has affected
           plaintiff;

  3.       Joyce C. Beckwith, MS, LRC, CRC, Conservant Healthcare, P.O. Box 804466,
           Lafayette, LA - vocational rehabilitation counselor to provide expert testimony
           concerning loss of wage earning capacity sustained by plaintiff, plaintiff’s vocational
           assessment for future employment including areas of employment and plaintiff’s wage
           earning capacity in light of his injury, surgery, background, area in which he lives and
           physical limitations;

  4.       Shelly Savant, M.D., Conservant Healthcare, P.O. Box 804466, Lafayette, LA -
           neurologist to provide expert testimony concerning the nature and extent of plaintiff's
           neurological injuries, and all complications, disabilities and symptom related thereto,
           as well as lifecare plan and need for future medical treatment;

  5.       Garrett Perkin, CSP, OHST, or Gregg Perkin, P.E. of Engineering Partners
           International 1310 Kingwood Drive, Kingwood, TX – safety expert to provide expert
           testimony concerning all issues of negligence, liability, dangerous acts, actions below

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            the standard of care in the industry and all issues of negligence or liability on the part
            of the defendants as well as any alleged comparative fault on the part of plaintiff;

  6.        John Theriot, Jonathan Stoltz, or Jason Schellhaas of Malcolm M. Dienes, LLC – 611
            N. Causeway Blvd, Metairie, LA: economist to provide expert testimony concerning
            the present day value of plaintiff’s loss of past and future wages, fringe benefits and
            other financial losses as a result of plaintiff’s injury and subsequent restrictions;

  7.        Dr. Bradley Bartholomew, 2600 N. Hullen, Metairie, LA - Expert testimony
            concerning medical treatment provided to plaintiff including interpretation of all films,
            current and future medical restrictions, past medical surgeries, need for future medical
            surgeries, cost for past and future medical expenses, and any other relevant medical
            issues concerning plaintiff=s medical treatment or physical condition;

  8.        Dr. Thomas Lyons, 4921 Airline Drive, Metairie, LA - Expert testimony concerning
            medical treatment provided to plaintiff including interpretation of all films, current and
            future medical restrictions, past medical surgeries, need for future medical surgeries,
            cost for past and future medical expenses, and any other relevant medical issues
            concerning plaintiff=s medical treatment or physical condition;

  9.        Dr. Daniel Trahant, 3901 Houma Blvd., Metairie, LA - Expert testimony concerning
            medical treatment provided to plaintiff including interpretation of all films, current and
            future medical restrictions, past medical surgeries, need for future medical surgeries,
            cost for past and future medical expenses, and any other relevant medical issues
            concerning plaintiff’s medical treatment or physical condition.

Defendant in good faith believes he will call the following witnesses:

   1.       Plaintiff, Eddie Ratliff, 805 Seminary Williamsburg Road, Collins, MS 39428 -
            Testimony regarding the facts and circumstances surrounding plaintiff’s alleged
            accident and Seadrill’s operations, policies and procedures.

   2.       Michael Ryan Webb, 2117 Briarwood Road, Gilbertown, AL 36908 – Testimony
            regarding the facts and circumstances surrounding plaintiff’s alleged accident and
            Seadrill’s operations, policies and procedures.

   3.       Justin Davidson, Seadrill Americas, Inc., 113 South Grace Street, Crockett, TX 75835
            – Testimony regarding the facts and circumstances surrounding plaintiff’s alleged
            accident and Seadrill’s operations, policies and procedures.

   4.       Brad Northcutt, Seadrill Americas, Inc., 110 Pebble Cove, Hawkins, TX 75765–
            Testimony regarding the facts and circumstances surrounding plaintiff’s alleged
            accident and Seadrill’s operations, policies and procedures.




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5.       Nic Faust, Seadrill Americas, Inc., 956 Garcie Road, Zwolle, LA 71486 – Testimony
         regarding the facts and circumstances surrounding plaintiff’s alleged accident and
         Seadrill’s operations, policies and procedures.

6.       John Atkinson, Seadrill Americas, Inc., 1190 Maynor Creek Road, Waynesboro, MS
         39367 – Testimony regarding the facts and circumstances surrounding plaintiff’s
         alleged accident and Seadrill’s operations, policies and procedures.

7.       Amanda Bratton, Seadrill Americas, Inc., 11025 Equity Dr., Houston, TX 77041–
         Testimony regarding the facts and circumstances surrounding plaintiff’s alleged
         accident and Seadrill’s operations, policies and procedures.

8.       Rebecca Owens, Seadrill Americas, Inc., 11025 Equity Dr., Houston, TX 77041–
         Testimony regarding the facts and circumstances surrounding plaintiff’s alleged
         accident and Seadrill’s operations, policies and procedures.

9.       Robert Tim Hunter, Safety Management Systems, LLC, 8139 Walnut Creek Lane,
         Charlotte, NC 28227– Testimony regarding the facts and circumstances surrounding
         plaintiff’s alleged accident and injuries, SMS’s operations, policies and procedures
         and his treatment of plaintiff.

10.      Jeannette Brashear, York Risk Services Group, #8 Storehouse Lane, Suite A,
         Destrehan, LA 70047 – Testimony regarding the facts and circumstances surrounding
         plaintiff’s treatment, York’s investigation, operations, policies and procedures and
         payment of maintenance and cure.

11.      Cleveland J. Marcel, York Risk Services Group, #8 Storehouse Lane, Suite A,
         Destrehan, LA 70047 – Testimony regarding the facts and circumstances surrounding
         plaintiff’s treatment and York’s investigation, operations, policies and procedures.

12.      James Daigle, York Risk Services Group, #8 Storehouse Lane, Suite A, Destrehan,
         LA 70047 – Testimony regarding the facts and circumstances surrounding plaintiff’s
         prior back injury incident and York’s investigation, operations, policies and
         procedures.

13.      Dr. Brandon Herrington, Herrington Chiropractic Clinic, 4700 Handy St., Suite M-1,
         Hattiesburg, MS 39402 – Testimony regarding plaintiff’s alleged injuries and
         treatment.

14.      Dr. Robert Bourgeois, 1201 Kenneth St., Morgan City, LA 70380 – Testimony
         regarding plaintiff’s alleged injuries and treatment.

15.      Dr. Donald Thibodaux, 1201 Kenneth St., Morgan City, LA 70380 – Testimony
         regarding plaintiff’s alleged injuries and treatment.




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   16.       Dr. Thomas R. Lyons, 4921 Airline Dr., Metairie, LA 70001 – Testimony regarding
             plaintiff’s alleged injuries and treatment.

   17.       Dr. Bradley Bartholomew, 2600 N Hullen St., Metairie, LA 70002 – Testimony
             regarding plaintiff’s alleged injuries and treatment.

   18.       Dr. Ralph Katz, 1301 Barataria Blvd., Marrero, LA 70072 – Defendant’s consulting
             orthopedic surgeon – Testimony regarding plaintiff’s alleged injuries and treatment.

   19.       Nancy Favaloro, 1615 Poydras St # 1040, New Orleans, LA 70112 – Defendant’s
             consulting vocational rehabilitation expert – Testimony regarding plaintiff’s
             vocational rehabilitation.

   20.       Kenneth J. Boudreaux, Ph.D., Dan Cliffe, CPA, J. Stuart Wood, John R. Page, 1424
             Bordeaux St., New Orleans, LA 70115 – Defendant’s consulting economist –
             Testimony regarding plaintiff’s alleged economic damages.

   21.       Stephen Stoneham - Breen Rd., Houston, TX 77086 - Expert testimony regarding
             plaintiff’s claimed actions on the date of the incident and proper procedures for
             maintaining and repairing mud pumps and mud pump modules

                                 JURY/NON-JURY STATEMENT

                                                  XIV.

         This matter is a jury case as to all aspects of the case.

         Counsel will prepare a joint statement of the case which will be read by the Court to the

prospective panel of jurors prior to the commencement of voir dire. The statement should not be

more than two or three paragraphs. The statement will be filed with the Court no later than 5:00

p.m. five working days prior to trial.

         Proposed jury instructions are to be filed no later than 5:00 p.m. five working days prior

to trial. The parties must file joint jury instructions. The parties will meet and confer sufficiently

in advance of the required submission date in order to prepare the joint jury instructions. The

instructions must include citations to relevant legal authority. The instructions should be set forth

in the order in which the parties wish to have the instructions read.




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        In the event that agreement cannot be reached on all jury instructions, counsel shall provide

alternate versions with respect to any instruction in dispute. Each party should note its reasons for

putting forth an alternative instruction and the law in support thereof. Counsel must submit

electronic versions (in Word format) to the Court no later than 5:00 p.m. five working days before

trial at the following email address: efile-Morgan@laed.uscourts.gov, and must deliver 2 courtesy

copies to Chambers.

        A joint proposed jury verdict form is to be filed no later than 5:00 p.m. five working

days prior to trial. The parties shall meet and confer in advance of the required submission date in

order to prepare the joint proposed jury verdict form. In the event that agreement cannot be

reached, the parties shall file (1) separate proposed jury verdict forms; and (2) a joint memorandum

explaining the disagreements between the parties as to the proposed jury verdict form.

        Any proposed special voir dire questions are to be filed by each counsel no later than

5:00 p.m. five working days prior to trial.

                             LIABILITY AND DAMAGES ISSUE

                                                XV.

        The issue of liability will not be tried separately from that of quantum.

                                       OTHER MATTERS

                                                XVI.

        The parties are unaware at this time of any other matters that might expedite a disposition

of this case.




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                                               TRIAL

                                                XVII.

        Trial shall commence on Tuesday, May 28, 2019 at 9:00 a.m. It is estimated that the trial

of this matter will last four (4) days.

                                 PRE-TRIAL ORDER STATEMENT

                                               XVIII.

        This pre-trial order has been formulated after a conference at which counsel for the

respective parties have appeared in person. Reasonable opportunity has been afforded counsel for

corrections, or additions, prior to signing. Hereafter, this order will control the course of the trial

and may not be amended except by consent of the parties and the Court, or by order of the Court

to prevent manifest injustice.

                                 POSSIBILITY OF SETTLEMENT

                                                XIX.

        The parties held a settlement conference with Judge Van Meerveld on November 26, 2018

and mediation on April 30, 2019. The parties have not been able to reach a settlement.

                                           SIGNATURES

                                                 XX.

        New Orleans, Louisiana, this __________day of May, 2019.




                                               _________________________________________
                                               UNITED STATES DISTRICT COURT JUDGE




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                              Respectfully Submitted:

                              /s/ Joseph B. Marino, III
                              TIMOTHY J. YOUNG (22677)
                              TAMMY D. HARRIS (29896)
                              MEGAN C. MISKO (29803)
                              JOSEPH B. MARINO, III (29966)
                              The Young Firm
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                              Respectfully submitted,

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